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                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF CALIFORNIA


   HOOPA VALLEY TRIBE,
            Plaintiff,
   v.
   UNITED STATES BUREAU OF
   RECLAMATION; DAVID BERNHARDT,                        Case No. 1:20−cv−01814−DAD-EPG
   in his official capacity as Secretary of the
   Interior; BRENDA BURMAN, in her
   official capacity as Commissioner of the
   United States Bureau of Reclamation;
   ERNEST CONANT, in his official capacity
   as U.S. Bureau of Reclamation California-
   Great Basin Regional Director; and UNITED
   STATES DEPARTMENT OF THE
   INTERIOR

             Defendants.


                         FEDERAL DEFENDANTS’ STATUS REPORT

        On March 4, 2021, the Court entered a Minute Order requiring the Federal Defendants to

notify the Court whether or not they wished to continue to pursue their motion to dismiss in light

of the recent change of administration. In response to the Court’s Order, the Federal Defendants

moved for a 60-day stay. The Court granted the motion to stay, and gave the Federal Defendants
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until May 12, 2021 to file a status report detailing whether they wish to continue pursuing their

motion to dismiss.

           The Federal Defendants intend to defend this case and two other closely related cases:

North Coast Rivers Alliance v. United States Department of the Interior, No. 1:16-cv-00307-

DAD-SKO (hereinafter, “North Coast”) and Center for Biological Diversity v. United States

Bureau of Reclamation, No. 1:20-cv-00706-DAD-EPG (hereinafter, “CBD”). Therefore, the

Federal Defendants are not withdrawing their pending motion to dismiss and will be filing a

motion to consolidate this case with the North Coast and CBD cases in the near future.



Dated: May 12, 2021

                                                Respectfully submitted,

                                                JEAN E. WILLIAMS
                                                Acting Assistant Attorney General
                                                United States Department of Justice
                                                Environment & Natural Resources Division

                                                /s/ J. Scott Thomas
                                                JEFFREY SCOTT THOMAS
                                                Trial Attorney
                                                U.S. Department of Justice
                                                Counsel of Record for the Federal Defendants




                                   CERTIFICATE OF SERVICE

           I hereby certify that on May 12, 2021, I electronically filed the foregoing document with

the Clerk of the Court using the CM/ECF system, which will send notification of the filing to all

parties.


                                                        /s/ J. Scott Thomas
                                                        JEFFREY SCOTT THOMAS
